   Case 2:10-md-02179-CJB-DPC Document 5039-1 Filed 12/30/11 Page 1 of 4




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                      *      MASTER DOCKET
                                                     *      NO. 10-MD-2179
                                                     *
“DEEPWATER HORIZON” in the                           *
GULF OF MEXICO, on                                   *
APRIL 20, 2010                                       *

THIS DOCUMENT RELATES TO NO. 11-02515

CONRAD CHARLES WIEGAND           *                          CIVIL ACTION NO: 11-02515
                                 *
VERSUS                           *                          SECTION: “J”
                                 *
UNITED STATES MARITIME SERVICES, *                          DIVISION: “1”
LLC and PARISH OF ST. BERNARD    *
                                 *
*****************************


                    MEMORANDUM IN SUPPORT MOTION
           FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADINGS

       Defendant, United States Maritime Services, Inc. (incorrectly identified as United States

Maritime Services, L.L.C.) (“USMS”), through undersigned counsel, respectfully moves this

Court for an order extending the time to file Responsive Pleadings upon showing that:

       On October 6, 2011, Plaintiff, Conrad Charles Wiegand filed the instant civil action in

the Eastern District of Louisiana. See Complaint. This civil action arises from Plaintiff’s alleged

involvement in the “Vessels of Opportunity” program that was established by BP in the wake of

the Deepwater Horizon incident. See Complaint at ¶6. Defendant is presently a party to six
   Case 2:10-md-02179-CJB-DPC Document 5039-1 Filed 12/30/11 Page 2 of 4




other civil actions involving its participation in the “Vessels of Opportunity” program. See 11-

cv-2909, 11-cv-2766, 11-cv-2549, 11-cv-2549, 11-cv-2319, and 11-cv-2908. All of these cases

have been consolidated with the multidistrict litigation surrounding the Deepwater Horizon

incident presently before Judge Carl Barbier.

         This Court has issued forty-seven (47) pre-trial orders in an attempt to create a uniform

regime for dealing with the panoply of civil actions that have resulted from the Deepwater

Horizon incident. Specifically, Pre-Trial Order No. 25, paragraph 8 states “[a]ll individual

petitions or complaints that fall within Pleading Bundles B1, B3, D1, or D2, whether pre-existing

or filed hereafter, are stayed until further order of the Court.” See Record Doc. No. 983. Upon

information and belief, the present civil action falls into one of the above categories.

Furthermore, and more specifically focused on the Vessel of Opportunities Program on July 8,

2011, this Court issued the “Case Management Order Regarding Limited Discovery And

Mediation In Connection With Vessels Of Opportunity Program Contract Matters” (“Case

Management Order”). See Record Doc. No. 3207. According to that Case Management Order,

“Unless expressly modified by this Order, the VoO Contract Cases shall remain subject to the

provisions of the pre-trial orders issued by this Court, expressly including paragraph 8 of Pre-

Trial Order No. 25, whereby all individual petitions and complaints in the VoO Contract Cases

are stayed until further Order of the Court.” See Record Doc. No. 3207, paragraph 1. In

addition, it independently re-affirms the stay order by stating, “Except for the activity

contemplated in the paragraphs above, the VoO Contract Cases shall be stayed pending further

order of the Court.” See Record Doc. No. 3207, paragraph 17.

         The present civil action was filed after the Case Management Order was filed.

Consequently, the Plaintiff in this civil action is not one of the six focus VoO plaintiffs



436186                                           2
    Case 2:10-md-02179-CJB-DPC Document 5039-1 Filed 12/30/11 Page 3 of 4




established in the Case Management Order.              The Court limited Answers and Responsive

Pleadings to be filed to the six focus VoO plaintiffs only in the VoO contract cases. See Record

Doc. No. 3207, paragraph 5. USMS seeks to be consistent with the prior orders of this Court.

          Moreover, USMS states that it has no obligation under Paragraph 8 of Pre-Trial Order

No. 25 to answer any allegation contained in this Complaint as any obligation to answer is

stayed.

          USMS is cognizant of the broad powers granted to this Court for the management of the

present multidistrict litigation.    Furthermore, USMS understands that one of the goals of

multidistrict litigation is to limit the resources expended by all parties to an action.

          In addition, Undersigned has recently been appointed as counsel for Defendant and is

working to investigate the claims contained within the Complaint. Undersigned counsel needs

time to complete their investigation so as to prepare a proper Answer and other Responsive

Pleadings to protect the interests of his client. Undersigned counsel is in the process of obtaining

all discovery to date to assist in their draft of Responsive Pleadings after the stay is lifted.

          Furthermore, Undersigned counsel has communicated with opposing counsel and he does

oppose the filing of this instant motion.

          USMS recognizes that pursuant to the operation of the various pre-trial orders and Case

Management Order, the instant civil action is stayed until further order of the Court. Defendant,

United States Maritime Services, Inc., files this present motion seeking an extension of time to

file Responsive Pleadings until after the stay orders from this Court contained within Pre-Trial

Order No. 25 (Record Doc. No. 983) and “Case Management Order Regarding Limited

Discovery and Mediation in Connection With Vessels of Opportunity Contract Matters” (Record

Doc. No. 3207) are lifted.



436186                                             3
   Case 2:10-md-02179-CJB-DPC Document 5039-1 Filed 12/30/11 Page 4 of 4




                                                    Respectfully submitted:


                                                   /s/ Allen J. Krouse, III_____________
                                                   Allen J. Krouse, III (#14426)
                                                   Andrew S. de Klerk (#1045)
                                                   Brandon K. Thibodeaux (#32725)
                                                   FRILOT, L.L.C.
                                                   1100 Poydras Street, Suite 3700
                                                   New Orleans, LA 70163
                                                   Telephone: (504) 599-8000
                                                   Facsimile: (504) 599-8145
                                                   akrouse@frilot.com
                                                   adeklerk@frilot.com
                                                   bthibodeaux@frilot.com


                                                   ATTORNEYS FOR UNITED STATES
                                                   MARITIME SERVICES, INC.



                               CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing Motion for Extension of Time to File

Answer has been served on All Counsel by electronically uploading the same to Lexis Nexis

File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was electronically

filed with the Clerk of Court of the United States District Court for the Eastern District of

Louisiana by using the CM/ECF System, which will send a notice of electronic filing in

accordance with the procedures established in MDL 2179, on this 30th day of December, 2011.



                                            s/ Allen J. Krouse, III              _




436186                                         4
